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SNB/CJR: USAO No. 2019R00082
cjr:7-14-2020
                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                          :       Criminal No. SAG-20-0219
                                                   :
           v.                                      :       (Conspiracy to Distribute and
                                                   :       Possess With Intent to Distribute
 KIRK GROSS,                                       :       Fentanyl, Heroin, and Cocaine, 21
 a/k/a White Boy,                                  :       U.S.C. § 846; Possession With Intent
                                                   :       to Distribute Fentanyl, Heroin, an
                    Defendant.                     :       Cocaine, 21 U.S.C. § 841(a)(1);
                                                   :       Possession    of    Firearm      and
                                                   :       Ammunition by a Prohibited Person,
                                                   :       18 U.S.C. § 922(g)(1); Forfeiture, 18
                                                   :       U.S.C. § 924(d), 21 U.S.C. § 853, 28
                                                   :       U.S.C. § 2461(c))

                                         INFORMATION

                                          COUNT ONE
                       (Conspiracy to Distribute and Possess With Intent to
                           Distribute Fentanyl, Heroin, and Cocaine)

          The United States Attorney for the District of Maryland charges that:

          In or about July 2018, and continuing through in or about April 2019, in the District of

Maryland, the defendant,

                                           KIRK GROSS,
                                          a/k/a White Boy,

did knowingly and willfully combine, conspire, confederate, and agree with others known and

unknown to knowingly, intentionally, and unlawfully distribute and possess with intent to

distribute 400 grams or more of a mixture or substance containing a detectable amount of fentanyl,
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a Schedule II controlled substance; 1 kilogram or more of a mixture or substance containing a

detectable amount of heroin, a Schedule I controlled substance; and 500 grams or more of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A)-(B).

21 U.S.C. ' 846
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                                       COUNT TWO
            (Possession With Intent to Distribute Fentanyl, Heroin, and Cocaine)

       The United States Attorney for the District of Maryland further charges that:

       On or about April 5, 2019, in the District of Maryland, the defendant,

                                         KIRK GROSS,
                                        a/k/a White Boy,

did knowingly, intentionally, and unlawfully possess with intent to distribute 400 grams or more

of a mixture or substance containing a detectable amount of fentanyl, a Schedule II controlled

substance; 1 kilogram or more of a mixture or substance containing a detectable amount of heroin,

a Schedule I controlled substance; and 500 grams or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(1) and (b)(1)(A)-(B).

21 U.S.C. § 841(a)(1)
18 U.S.C. § 2
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                                    COUNT THREE
             (Possession of Firearm and Ammunition by a Prohibited Person)

       The United States Attorney for the District of Maryland further charges that:

       On or about April 5, 2019, in the District of Maryland, the defendant,

                                        KIRK GROSS,
                                       a/k/a White Boy,

possessed in and affecting interstate commerce a firearm and ammunition, that are, a SCCY

Industries CPX-2 semi-automatic 9mm pistol bearing serial number 632077, a SCCY Industries

CPX-2 semi-automatic 9mm pistol bearing serial number 534817, a Taurus PTIII Millennium G2

semi-automatic 9mm pistol bearing serial number TKW08741, a Taurus PT140 Millennium G2

semi-automatic 9mm pistol bearing serial number SKS89240, one magazine of .40 S&W, eight

cartridges of .40 S&W, twelve cartridges of 9mm Luger, six magazines of 9mm Luger, having

previously been convicted of a crime punishable by imprisonment for a term exceeding one year,

and did so knowingly.

18 U.S.C. § 922(g)(1)
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                                         FORFEITURE

       The United States Attorney for the District of Maryland further charges that:

       1.      Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

defendant that the United States of America will seek forfeiture as part of any sentence in

accordance with 21 U.S.C. § 853 and 28 U.S.C. § 2461(c), in the event of the defendant’s

convictions.

                                       Narcotics Forfeiture

       2.      Pursuant to 21 U.S.C. § 853 (a), upon conviction of an offense in violation of the

Controlled Substances Act, as alleged in Counts One and Two of the Information, the defendant,

                                          KIRK GROSS,
                                         a/k/a White Boy,

shall forfeit to the United States of America:

            a. any property constituting, or derived from, any proceeds obtained, directly or
               indirectly, as a result of such offenses; and

            b. any property used, or intended to be used, in any manner or part, to commit, or
               facilitate the commission of, such offenses.

                              Firearm and Ammunition Forfeiture

       3.      Pursuant to 18 U.S.C. § 924(d), upon conviction of the offense alleged in Count

Three, the defendant,

                                          KIRK GROSS,
                                         a/k/a White Boy,

shall forfeit to the United States of America any firearms and ammunition involved in the

commission of the offense.
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                          Property Subject to Forfeiture

4.      The property to be forfeited includes, but is not limited to, the following:

        a.     a SCCY Industries CPX-2 semi-automatic 9mm pistol bearing serial
               number 632077 seized from a black bag in the hallway closet of the
               defendant’s Owings Mills residence on or about April 5, 2019;

        b.     a SCCY Industries CPX-2 semi-automatic 9mm pistol bearing serial
               number 534817 seized from a shoe box in the master bedroom closet of the
               defendant’s Pikesville residence on or about April 5, 2019;

        c.     a Taurus PTIII Millennium G2 semi-automatic 9mm pistol bearing serial
               number TKW08741 seized from a black bag in the hallway closet of the
               defendant’s Owings Mills residence on or about April 5, 2019;

        d.     a Taurus PT140 Millennium G2 semi-automatic 9mm pistol bearing serial
               number SKS89240 seized from a shoe box in the master bedroom closet of
               the defendant’s Pikesville residence on or about April 5, 2019;

        e.     Approximately one (1) magazine of .40 S&W seized from a black bag in
               the hallway closet of the defendant’s Owings Mills residence on or about
               April 5, 2019;

        f.     Approximately one (1) magazine of 9mm Luger seized from a shoe box in
               the master bedroom closet of the defendant’s Pikesville residence on or
               about April 5, 2019;

        g.     Approximately eight (8) cartridges of .40 S&W seized from a shoe box in
               the master bedroom closet of the defendant’s Pikesville residence on or
               about April 5, 2019;

        h.     Approximately twelve (12) cartridges of 9mm Luger seized from a shoe box
               in the master bedroom closet of the defendant’s Pikesville residence on or
               about April 5, 2019;

        i.     Approximately five (5) magazines of 9mm Luger seized from a black bag
               in the hallway closet of the defendant’s Owings Mills residence on or about
               April 5, 2019;

        j.     $8,200.00 seized from the defendant’s socks on his person on or about April
               5, 2019;

        k.     $1,806.00 seized from the defendant’s pockets on his person on or about
               April 5, 2019;


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              l.      $192,510.00 seized from a clothing hamper of the defendant’s Pikesville
                      residence on or about April 5, 2019;

              m.      $39,600.00 seized from a black bag inside the master bedroom closet of the
                      defendant’s Pikesville residence on or about April 5, 2019;

              n.      $31,005.00 seized from a shoebox in the master bedroom closet of the
                      defendant’s Pikesville residence on or about April 5, 2019;

              o.      $59,540.00 seized from a black backpack in the trunk of the defendant’s
                      vehicle on or about April 5, 2019;

              p.      $523.00 seized from a bag under the front driver’s side seat of the
                      defendant’s vehicle on or about April 5, 2019; and

              q.      $4,063.00 seized from the center console of the defendant’s vehicle on or
                      about April 5, 2019.

18 U.S.C. § 924(d)
21 U.S.C. §853
28 U.S.C. § 2461(c)
Fed. R. Crim. P. 32.2(a)



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__________________________                     _______________________________________
                                                ____________________________
Date                                           Robert
                                                obert K. Hur
                                               United States Attorney




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